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                UNITED STATES DISTRICT COURT                        -     3
               SOUTHERN DISTRICT OF GEORGIA
                                                                  ,g/
                        SAVANNAH DIVISION

UNITED STATES OF AMERICA,

V.                                      Case No. 0R407-308
DONALD FLOYD BROWN and
CHARON GARRAY FIELDS,

      Defendants.

                                sIi4PII
      After a careful novo review of the record in this case, the Court
concurs with the Magistrate Judge's Report and Recommendation, to which
objections have been filed. Accordingly, the Report and Recommendation
of the Magistrate Judge is adopted as the opinion of the Court.
       SO ORDERED this ____ day of                      , 2008.



                                        IL AVAF EDENFIELD /      7
                                        UNITED STATES DIST*CT JUDGE
                                        SOUTHERN DISTRICt'OF GEORGIA
